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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:                                                        Case No. 24-11047-LMI

Nir Meir,                                                     Chapter 7

         Debtor.
                                        /

       TRUSTEE’S FIRST MOTION TO EXTEND TIME TO OBJECT TO THE
     DEBTOR’S CLAIMED EXEMPTIONS AND/OR THE DEBTOR’S DISCHARGE

               Comes Now, Drew M. Dillworth, the Chapter 7 Trustee (“Trustee”) of the

bankruptcy estate of Nir Meir (“Debtor”), by and through undersigned counsel, files and

serves this, the Trustee’s First Motion To Extend Time To Object To The Debtor’s

Claimed Exemptions And/Or The Debtor’s Discharge, and states the following in

support thereof:

     1.      The Debtor filed a voluntary bankruptcy petition under Chapter 7 of Title 11

             of the United States Code on February 1st, 2024.

     2.      The undersigned firm was employed by the Trustee, effective February 5th,

             2024 [see ECF No’s 10 and 11].

     3.      Shortly after the Petition date, Debtor was arrested in Miami, FL and then

             extradited to New York City for incarceration.

     4.      Debtor’s initial 341 Meeting of Creditors was scheduled for March 6, 2024;

             however, same was continued due to the Debtor’s incarceration. The

             continued 341 Meeting of Creditors is now scheduled for April 10, 2024,

             commencing at 8:00 a.m. [see ECF No. 27]. But, said continued 341

             Meeting will likely be reset as Debtor remains incarcerated in New York.
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     5.     In the interim, the Trustee’s counsel served the Debtor with a detailed

            request for document production on February 26th, 2024; and, the response

            deadline was on March 18th, 2024. As of even date, Debtor has yet to

            produce the responsive documents.

     6.     On April 1st, 2024, the undersigned’s paralegal corresponded with Debtor’s

            counsel regarding the status of the Debtor’s documents; and, Debtor’s

            counsel responded that unfortunately, the Debtor remains incarcerated in

            New York and Debtor’s counsel has been unable to make contact with

            Debtor as of said date.

     7.     Furthermore, the undersigned has issued multiple subpoenas to various

            third parties; and, is still awaiting responses as of even date.

     8.     As the Trustee has been unable to conclude his due diligence, and given

            the Debtor’s incarceration and apparent inability to produce the requested

            documents, it is requested      that the Court extend the deadlines for the

            Trustee to timely object to the Debtor’s claimed exemptions and/or the

            Debtor’s discharge through October 25th, 2024.

     9.     Prior to filing his motion, the undersigned requested agreement from

            Debtor’s counsel; but, no agreement was received.

       WHEREFORE, the Trustee respectfully requests an order granting the requested

relief, and for such other and further relief this Court deems equitable and just.

       I HEREBY CERTIFY That a true and correct copy of this pleading was served via
CM/ECF Service this 8th day of April, 2024 upon: Peter E. Shapiro, Esq., as Debtor’s
Counsel; Drew M. Dillworth, as Trustee; and, the AUST; and, via U.S. Mail upon Debtor,
Nir Meir at 102 24th Street, Unit 1204, Miami Beach, FL 33140.




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      I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for
the Southern District of Florida and am in compliance with the additional qualifications to
practice before this Court as set forth in Local Rule 2090-1(A).

      Dated: April 8, 2024

                                                   Counsel for Trustee
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                                                   __________/s/________________
                                                   JAMES B. MILLER, ESQ.
                                                   Fla. Bar No. 0009164




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